             Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 1 of 8                                     FILED
                                                                                                      2019 Apr-05 AM 11:16
                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA




                         IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED ST A TES OF AMERICA,                         )
ex rel., ST ARR CULPEPPER, et al.                   )
                                                    )
                                        Plaintiff   )
                                                    )
                              v.                    )
                                                    )       CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )       2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                   SUMMONS IN A CIVIL ACTION

To: Barbara Murdock
    3508 l ih Avenue N
    Birmingham, Alabama 35234-2208

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff's attorney, whose name
and address are:   Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5th Avenue North
                                                    Birmingham, Alabama 35203
             Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 2 of 8




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA,                           )
ex rel., ST ARR CULPEPPER, et al.                   )
                                                    )
                                        Plaintiff   )
                                                    )
                              v.                    )
                                                    )       CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )       2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                   SUMMONS IN A CIVIL ACTION

To: Patrick Sellers
    2928 Dowell Avenue SW
    Birmingham, Alabama 35211-4514

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Ru le 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiffs attorney, whose name
and address are: Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

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                                                    SHARON N. 'r-RIS,        CtEitKr         ,

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                                                            (SEAL OF COURT)


                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5th Avenue North
                                                    Birmingham, Alabama 35203
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             Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 3 of 8




                         IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED ST A TES OF AMERICA,                         )
ex rel., ST ARR CULPEPPER, et al.                   )
                                                    )
                                        Plaintiff   )
                                                    )
                              v.                    )
                                                    )       CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )       2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                   SUMMONS IN A CIVIL ACTION

To: Alice M. Gordon
    3720 4th Avenue S
    Birmingham, Alabama 35222-2420

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff's attorney, whose name
and address are:   Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5th A venue North
                                                    Birmingham, Alabama 35203
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                      Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 4 of 8




                                  IN THE UNITED ST ATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED ST ATES OF AMERICA,                             )
ex rel., STARR CULPEPPER, et al.                       )
                                                       )
                                           Plaintiff   )
                                                       )
                                    v.                 )
                                                       )    CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                            )    2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                              )
                          Defendant.                   )


                                         SUMMONS IN A CIVIL ACTION

To: Edmond V. Watters
    4959 Coshatt Drive
    Hoover, Alabama 3 5244-2402

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintifrs attorney, whose name
and address are:   Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


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                                                       NORTHERN DISTRICT OF ALABAMA
                                                       1729 5th A venue North
                                                       Birmingham, Alabama 35203
               Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 5 of 8




                            IN THE UNITED ST ATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED ST A TES OF AMERICA,                         )
ex rel., ST ARR CULPEPPER, et al.                   )
                                                    )
                                        Plaintiff   )
                                                    )
                               v.                   )
                                                    )       CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )       2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                    SUMMONS IN A CIVIL ACTION

To: Skye Connect, Inc.
    Alice M. Gordon - Registered Agent
    5304 Promenade Dr
    Trussville, Alabama 35173

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiffs attorney, whose name
and address are:   Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


DATE:   ----------+--d/4~!9_




                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5 111 A venue North
                                                    Birmingham, Alabama 35203
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              Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 6 of 8




                         IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA,                           )
ex rel., ST ARR CULPEPPER, et al.                   )
                                                    )
                                        Plaintiff   )
                                                    )
                              v.                    )
                                                    )       CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )       2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                   SUMMONS IN A CIVIL ACTION

To: Wendel Architecture, P.C.
    Corporation Service Company, Inc. - Registered Agent
    641 South Lawrence Street
    Montgomery, Alabama 36104

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff's attorney, whose name
and address are: Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


DATE:   ---------.#~Wt_/q_



                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5th Avenue North
                                                    Birmingham, Alabama 35203
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                         Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 7 of 8




                                     IN THE UNITED ST ATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF ALABAMA

         UNITED STATES OF AMERICA,                            )
         ex rel., ST ARR CULPEPPER, et al.                    )
                                                              )
                                                  Plaintiff   )
                                                              )
                                        v.                    )
                                                              )      CIVIL ACTION CASE NUMBER:
         BIRMINGHAM JEFFERSON COUNTY                          )      2 :18-cv-00567-RDP
         TRANSIT AUTHORITY, et al.                            )
                                   Defendant.                 )


                                             SUMMONS IN A CIVIL ACTION

         To: Strada Professional Services, LLC
             Edmond Watters- Registered Agent
             1500 1st Avenue N
             Suite D 138
             Birmingham, Alabama 35203-1869

          A lawsuit has been filed against you.

                Within 21 days after service of this summons on you (not counting the day you received it), you
         must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
         Rules of Civil Procedure. The answer or motion must be served on the plaintiffs attorney, whose name
         and address are:   Mr. Larry A. Golston, Jr.
                            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                            Post Office Box 4160
                            Montgomery, Alabama 36103-4160

         If you fail to do so, judgment by default may be entered against you for the relief demanded in the
         complaint. You also must file your answer or motion with the court.


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                                                              NORTHERN DISTRICT OF ALABAMA
                                                              1729 5111 A venue North
                                                              Birmingham, Alabama 35203




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            Case 2:18-cv-00567-RDP Document 15 Filed 04/05/19 Page 8 of 8




                         IN THE UNITED ST A TES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

UNITED ST A TES OF AMERICA,                         )
ex rel., STARR CULPEPPER, et al.                    )
                                                    )
                                        Plaintiff   )
                                                    )
                              v.                    )
                                                    )        CIVIL ACTION CASE NUMBER:
BIRMINGHAM JEFFERSON COUNTY                         )        2 :18-cv-00567-RDP
TRANSIT AUTHORITY, et al.                           )
                          Defendant.                )


                                   SUMMONS IN A CIVIL ACTION

To: Birmingham Jefferson County Transit Authority
    Theodore Smith - Chairman of the Board
    2121 Rev. Abraham Woods, Jr. Blvd.
    Suite 500
    Birmingham, Alabama 35203

A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff's attorney, whose name
and address are: Mr. Larry A. Golston, Jr.
                   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
                   Post Office Box 4160
                   Montgomery, Alabama 36103-4160

If you fail to do so, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



DATE     4/f/fJ                                     SHARON N_.){ARRISfetE~K
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                                                            (SEAL OF COURT)


                                                    NORTHERN DISTRICT OF ALABAMA
                                                    1729 5th A venue North
                                                    Birmingham, Alabama 35203
